                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                    GREENEVILLE DIVISION

   JANE DOE, et al.,                              )
                                                  )
                 Plaintiffs,                      )                       2:23-CV-71
                                                  )
         vs.                                      )
                                                  )
                                                  )
   JOHNSON CITY, TN, et al.,
                                                  )
                                                  )
                 Defendants.
                                                  )



                                                ORDER

          This matter is before the Court on Plaintiff’s Motion for Leave to File Document Under

   Seal [Doc. 44]. The Motion is GRANTED, and the Clerk is directed to file the Proposed Sealed

   Document [Doc. 45] under seal.

          SO ORDERED:

                                             /s/Cynthia Richardson Wyrick
                                             United States Magistrate Judge




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